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                 IN THE UNITED STATES DISTRICT COURT                   FILED
                     FOR THE DISTRICT OF MONTANA                           OEC 1 0 2014
                           BILLINGS DIVISION
                                                                      Clerk, US District Court
                                                                        District Of Montana
                                                                               Billings


UNITED STATES OF AMERICA,
                                                 CR 14-38-BLG-SPW
                     Plaintiff,

vs.                                              OPINION and ORDER

JASON NEEL and MARIO ALBERT
VILLEGAS,

                     Defendants.

      Defendant Jason Neel ("Neel") has filed a Motion to Suppress Title III

Wiretap Evidence and for Franks Hearing (Doc. 244). In part of his motion, Neel

seeks a Franks hearing to determine whether law enforcement intentionally or

recklessly omitted evidence in their applications for wiretap warrants that could

impeach the credibility of a Confidential Human Source ("CHS"). Co-defendant

Mario Villegas ("Villegas") joins the motion (Doc. 249). The Court previously set

a hearing to consider all of the arguments set forth by Neel and Villegas. (Doc.

254). The Court now finds that Neel and Villegas are not entitled to a Franks

hearing and denies those portions of their motions.




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I. Background

      A. The investigation
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      This Court authorized three wiretaps in this case. The Court signed the first

authorization on January 23, 2014, which allowed law enforcement to intercept
                                                                            2
calls involving two of co-defendant Casey Fleming's ("Fleming") phones. On

February 3, 2014, this Court authorized a wiretap on Neel's phone. On February
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15, this Court authorized a wiretap on co-defendant Desiree Jimenez's phone. On

February 21, 2014, this Court authorized a 30-day wiretap extension on one of

Fleming's phones. Unless otherwise noted, the following information is taken

from the wiretap applications. This recitation is not an exhaustive review of the

alleged facts, but rather is intended to put the Franks arguments in context.

       At the time of the investigation, Neel was incarcerated in a California

prison on a murder conviction. Through contraband cell phones, Neel directed a

drug trafficking organization. In late September 2013, Neel called a CHS and

informed him that co-defendant Fleming was driving to Billings to distribute

methamphetamine. The CHS contacted Fleming, and Fleming told the CHS that


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  Neel and Villegas also challenge whether the wiretap applications complied with
18 U.S.C. § 2518. In this Order, the Court does not express an opinion on the
merits of those arguments.
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  Fleming pied guilty on October 2, 2014.
3
  Jimenez pied guilty on August 21, 2014.
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he was going back to California but that he would soon return to Montana with

more methamphetamine.

      The CHS remained in contact with Neel and Fleming. Some of the CHS's

calls with Neel and Fleming were consensually recorded. For example, in a

recorded call, Fleming instructed the CHS to send him drug proceeds through

Green Dot or MoneyGram. The investigating agents also consensually recorded

calls where the CHS spoke with Neel and Fleming about shipping drugs through

the mail.

      In early November 2013, the CHS notified the agents that Fleming had

returned to Billings. The CHS also relayed information that Fleming was dealing

drugs out of a trailer. Law enforcement did a drive-by surveillance of the trailer

and observed a car rented by Fleming parked outside.

      Law enforcement asked the CHS to introduce Fleming to an undercover

agent ("UCA"). On November 14, the CHS called Fleming and tried to set up a

drug deal from Fleming to the UCA. Fleming said he was out of town, but he

arranged for the CHS and the UCA to purchase methamphetamine from "Dave" in

Roundup. "Dave" was later identified as co-defendant David Goffena

("Goffena"). The CHS and the UCA drove together to Roundup and purchased Yi

ounce of methamphetamine from Goffena.




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      On November 15, the CHS tried to set up another sale ofmethamphetamine

from Fleming to the UCA. Fleming agreed to sell the UCA Yz ounce. That day,

the UCA met Fleming at a prearranged meeting place and purchased Yz ounce of

methamphetamine. Fleming gave the UCA his phone number. Fleming also told

the UCA that he purchased his drugs from a massive methamphetamine laboratory

in southern California.

      From that point, the wiretap applications scarcely mention the CHS. The

UCA purchased methamphetamine from Fleming on several occasions. The UCA

developed a good rapport with Fleming, and Fleming began giving the UCA 2 oz.

of methamphetamine at a time for redistribution. Law enforcement obtained a

search warrant for Fleming's text messages, which revealed discussions with Neel

regarding drug distribution. Calls recorded pursuant to the wiretap orders

produced incriminating evidence against Neel and Villegas.

      B. The CHS 's credibility

      In each of the wiretap applications, the agents discussed using the CHS. The

agents provided the CHS with monetary compensation in addition to purchasing

for him "a cell phone, phone cards, and two cheeseburgers." Law enforcement

noted that the CHS had previous felony convictions for grand theft and possession

of a controlled substance. Each application also stated the following:

      Also of importance, on December 26, 2013, the CHS voluntarily
      disclosed to Agents that he/she had a heroin addiction in the past but

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        had been clean for several years. On or about, December 20, 2013,
        the CHS succumbed to his/her addiction and used heroin for three
        days. The CHS does not believe he/she will succumb to the addiction
        again. However, ifthe CHS uses heroin again, Agents may not be
        able to use the CHS in the investigation. With the CHS's future in
        jeopardy, the development of another confidential source is important.

In the February 20 application for the wiretap extension for Fleming's phone the

agents added the following information:

        Additionally, Agents have intercepted calls on the Target Phone
        between FLEMING and BARNARD 4 that indicate the CHS may be
        involved in unauthorized methamphetamine distribution. Agents are
        attempting to gain additional evidence to determine ifthe CHS is in
        fact distributing methamphetamine for FLEMING.

        The agents gained that information through an intercepted call from Fleming

to Barnard made on February 5. In the call, Fleming told Barnard that "B" was

going to receive one ounce ofmethamphetamine. The agents suspected that "B"

referred to the CHS. The CHS never reported receiving the methamphetamine to

the agents. From that information, the investigating agents suspected that the CHS

was impermissibly dealing drugs for Fleming. The agents did not include the

February 5 phone call in their wiretap application made on February 14.

        After the last wiretap application, the agents confirmed that the CHS had

continued distributing drugs without authorization. On March 27, agents arrested

the CHS and interviewed him. The CHS apologized to the agents for the

unauthorized drug dealing. The CHS told the agents that he had been using heroin

4
    This refers to co-defendant David Barnard.
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continuously for the preceding several months. The CHS said that while he

disclosed his initial relapse to the agents, he concealed his subsequent use. The

CHS acknowledged that his behavior was wrong, but he did not inform the agents

of his drug use because he knew they would be upset.

II. Neel and Villegas have not made the requisite preliminary showing to earn
a Franks hearing.

      Neel and Villegas argue that a Franks hearing is appropriate to "flesh out"

the CHS's unauthorized role in the organization. They contend that the February 5

call that incriminated the CHS was recklessly or intentionally omitted from the

application made on February 14. Neel and Villegas further argue that the trained

agents should have recognized signs of the CHS's drug use. They argue that the

failure to recognize the CHS's months-long relapse was reckless and should have

been included in all of the wiretap applications. Neel and Villegas claim that these

credibility issues could have impacted this Court's finding of probable cause to

authorize the wiretaps.

      Defendants are entitled to a Franks hearing to challenge a wiretap

application if they make substantiated "allegations of deliberate falsehood or of

reckless disregard for the truth." Franks v. Delaware, 438 U.S. 154, 171 (1978).

To get a Franks hearing, a defendant must make a "substantial preliminary

showing that (1) the affidavit contains intentionally or recklessly false statements

or misleading omissions, and (2) the affidavit cannot support a finding of probable

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cause without the allegedly false information." United States v. Reeves, 210 F .3d

1041, 1044 (9th Cir. 2000).

      Proof that law enforcement omitted information from an affidavit does not

by itself invalidate a wiretap order. United States v. Ippolito, 774 F.2d 1482, 1485

(9th Cir. 1985). The omitted information must have been material. Id. Omitted

impeachment information is material ifthe issuing court would not have found

probable cause ifit had been apprised of the missing information. United States v.

Meling, 47 F.3d 1546, 1554 (9th Cir. 1995). Ifa wiretap application contains

information supporting probable cause and necessity independent of information

impeaching an informant's credibility, then a Franks hearing is not required.

United States v. Bennett, 219 F.3d 1117, 1125 (9th Cir. 2000). "Where the wiretap

application presents substantial evidence supporting a finding of probable cause

independent of the information provided by an informant, that showing will

compensate for an informant's low credibility." Meling, 47 F.3d at 1555.

      Even assuming that law enforcement recklessly omitted the CHS's

unauthorized drug dealing from the February 14 application, substantial evidence

overwhelmingly supports a finding of probable cause. After the CHS arranged the

meeting between Fleming and the UCA on November 15, the agents do not

significantly rely upon information obtained by the CHS. Therefore, assuming that

the CHS impermissibly dealt methamphetamine for Fleming for the duration of the


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investigation, it does not matter that the CHS was scarcely credible after that date.

The UCA purchased methamphetamine from Fleming and his associates on several

occasions. The agents also obtained text messages from Fleming's phone that

incriminated, among other people, Neel and Jimenez. Even if this Court purged all

the information supplied by the CHS to the agents, probable cause still existed to

believe that the interception of calls from Fleming, Neel, and Jimenez's phones

would led to further evidence of their illegal drug trade.

      Further, the Court would not necessarily purge all of the information

provided by the CHS. The CHS consensually recorded several of his calls to Neel

and Fleming. Assuming that this Court could not trust information relayed from

the CHS to the agents, the CHS could not fabricate the content of those calls. They

were recorded, and the agents could independently verify their contents.

      Finally, this conclusion is bolstered by the fact that when this Court learned

about the CHS's possible drug dealing in the extension application on February 20,

this Court still found that the wiretap on Fleming's phone was appropriate. This

Court knew about the CHS's possible nefarious dealings, and it granted the

extension nonetheless.

      For the same reason, knowledge of the CHS's months-long relapse would

not have altered this Court's decision to grant the wiretap applications. The CHS

relapsed around December 20, 2013. The CHS and the UCA met a month prior to


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the relapse. As discussed above, the agents hardly mention information gathered

from the CHS after the November 15 meeting between Fleming and the UCA.

Also as detailed above, the agents relayed substantial evidence to support probable

cause independent of the CHS's involvement.

III. Conclusion

      Neel and Frank do not make a substantial showing that any impeachment

information for the CHS would have been material. Accordingly, IT IS HEREBY

ORDERED:

      1. Neel's Motion to Suppress and for Franks Hearing (Doc. 246) and

Villegas' Motion to Suppress (Doc. 249) are DENIED IN PART insofar as they

request a Franks hearing.

      2. Counsel shall notify the Court by 2:00 p.m. tomorrow, December 11,

2014, whether the remaining issues presented in the Motions to Suppress can be

decided on the briefs or whether counsel believes a hearing is necessary to resolve

factual disputes.



      DATED tl>i' /f2  ~ofDeoombcr 20171
                                   Af~rtcd~
                                             SUSANP. WATTERS
                                             United States District Judge




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